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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                               IN RE: CATHODE RAY TUBE (CRT)            ) MDL No. 1917
                                                                          9    ANTITRUST LITIGATION                     )
                                                                                                                        ) Case No. C-07-5944-SC
                                                                         10                                             )
United States District Court
                               For the Northern District of California




                                                                                                                        ) ORDER VACATING HEARING
                                                                         11    This Order Relates To:                   )
                                                                                                                        )
                                                                         12      DIRECT PURCHASER CLASS ACTION          )
                                                                                 CASES                                  )
                                                                         13                                             )
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                                                                         15        The December 7, 2012 hearing on the parties' responses to the
                                                                         16   Special Master's Report and Recommendation Regarding Defendants'
                                                                         17   Joint Motion for Summary Judgment against certain Direct Purchaser
                                                                         18   Plaintiffs, ECF No. 1221, is hereby VACATED.         Civ. L.R. 7-1(b).
                                                                         19   The Court will issue a written order shortly.
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                                                                         21        IT IS SO ORDERED.
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                                                                         23        Dated:   November 27, 2012
                                                                                                                   UNITED STATES DISTRICT JUDGE
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